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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
KAREN BERENS,
                                                               22-CV-8183 (KMK)
                                   Plaintiff
                                                               ANSWER TO
                 -    against -                                AMENDED COMPLAINT
                                                               WITH JURY DEMAND
SOUTHERN WESTCHESTER BOCES and
THE BOARD OF EDUCATION OF
SOUTHERN WESTCHESTER BOCES
-----------------------------------------------------------X

        Defendants, SOUTHERN WESTCHESTER BOCES and THE BOARD OF

EDUCATION OF SOUTHERN WESTCHESTER BOCES, as and for an Answer to the

Amended Complaint of the Plaintiff, respectfully set forth, upon information and belief, as

follows:

                                           NATURE OF THE ACTION

        FIRST:        Deny the allegations contained in paragraph 1 of the Amended Complaint and

refer all questions of law or fact to the Honorable Court.

                                          JURISDICTION AND VENUE

        SECOND:          Deny the allegations contained in paragraph 2 of the Amended Complaint

and refer all questions of law or fact to the Honorable Court.

        THIRD:        Deny the allegations contained in the paragraph designated as “3” of the

Amended Complaint and admit only that the EEOC notified BOCES of a charge of

discrimination filed by the Plaintiff on November 18, 2021, and refer all other questions of law

or fact to the Honorable Court.




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       FOURTH: Admit that the EEOC issued a Notice of Right to Sue dated June 27, 2022 but

deny knowledge or information sufficient to form a belief as to the truth or accuracy of the other

allegations contained in the paragraph designated as “4” of the Amended Complaint.

       FIFTH:     Admit that the occurrences alleged in the complaint occurred in the Southern

District of New York but deny all other allegations contained in the paragraph designated as “5”

of the Amended Complaint.

                                                PARTIES

       SIXTH:      Deny that the Plaintiff is a qualified individual with a disability and deny

knowledge or information sufficient to form a belief as to the truth or accuracy of all other

allegations contained in the paragraph designated as “6” of the Amended Complaint.

       SEVENTH:        Deny in the form alleged the allegations contained in the paragraph

designated as “7” of the Amended Complaint and admits only that the plaintiff is currently

approximately 67 years-old.

       EIGHTH:       Admit that the Plaintiff has been employed by BOCES as an Occupational

Therapist since approximately 2004 and that in her capacity as an Occupational Therapist she is

required to delivery therapy services to BOCES students, and deny all other allegations in the

paragraph designated as “8” of the Amended Complaint.

       NINTH:     Deny in the form alleged the allegations contained in the paragraph designated

as “9” of the Amended Complaint but admit that BOCES is Board of Cooperative Educational

Services located in Southern Westchester, New York.

       TENTH:       Admit the allegations contained in the paragraph designated as “10” of the

Amended Complaint.




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       ELEVENTH:        Deny the allegations contained in the paragraph designated as “11” of the

Amended Complaint but admit that on or about August 14, 2020, the plaintiff submitted as

requested an accommodation to perform her therapy services entirely remote because of her

represented high-risk status due to Cerebral Palsy.

       TWEFLTH:        Admit that the plaintiff and BOCES’ Director of Human Resources

Suzanna Doherty (“Ms. Doherty”) met on August 19, 2020 to discuss the plaintiff’s

accommodation request and that Ms. Doherty requested additional information regarding the

nature, severity and limitations of the alleged disability, and deny all other allegations in the

paragraph designated as “12” of the Amended Complaint.

       THIRTEENTH:         Admit that the plaintiff did not report to work when the 2020-21

school year began but deny all other allegations contained in the paragraph designated as “13” of

the Amended Complaint.

       FOURTEENTH:           Admit that an attorney for the plaintiff sent BOCES a letter on or

about September 8, 2020 to BOCES Principal Leslie Handler (“Principal Handler”) regarding

plaintiff’s accommodation request but deny all other allegations contained in the paragraph

designated as “14” of the Amended Complaint.

       FIFTEENTH:        Admit that on September 14, 2020 the plaintiff emailed Principal

Handler and others stating that she was able to provide therapy to students from home but deny

all other allegations contained in the paragraph designated as “15” of the Amended Complaint.

       SIXTEENTH:        Deny the allegations contained in the paragraph designated as “16” of

the Amended Complaint except admits only that the plaintiff and Ms. Doherty met on September

17, 2020 during which time Ms. Doherty explained why the plaintiff’s preferred accommodation

could not be granted and offered numerous patently reasonable accommodations to the plaintiff.



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       SEVENTEENTH:         Deny the knowledge or information sufficient to form a belief as to

the truth or accuracy of the allegations contained in the paragraph designated as “17” of the

Complaint.

       EIGHTEENTH:        Deny the allegations contained in the paragraph designated as “18” of

the Complaint.

       NINETEENTH: Admit that the plaintiff did not report to work during the 2020-21

school year, except for providing remote services for a brief period when her assigned worksite

pivoted to entirely remote temporarily due to COVID cases, until March 22, 2021 and exhausted

her accrued leave time in doing so, but deny all other allegations contained in the paragraph

designated as “19” of the Amended Complaint.

       TWENTIETH: Admit that the plaintiff did not report to work during the 2020-21 school

year, except for providing remote services for a brief period when her assigned worksite pivoted

to entirely remote temporarily due to COVID cases, until March 22, 2021 and exhausted her

accrued leave time in doing so, but deny all other allegations contained in the paragraph

designated as “20” of the Amended Complaint.

       TWENTY-FIRST:          Deny the allegations contained in the paragraph designated as “21”

of the Amended Complaint.

       TWENTY-SECOND:           Deny knowledge or information sufficient to form a belief as to

the truth or accuracy of whether the plaintiff was provided information by other staff members as

alleged in the paragraph designated as “22” of the Amended Complaint and deny all other

allegations contained in the paragraph “22”.




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       TWENTY-THIRD:          Admit that the plaintiff represented she would be willing to handle

a caseload of entirely remote students but deny all other allegations in the paragraph designated

as “23” of the Amended Complaint.

       TWENTY-FOURTH:           Paragraph “24” of the Amended Complaint contains argument,

interpretation, and legal conclusions to which no response is required. To the extent the

paragraph contains factual allegations to which a response is required, the defendants deny all

such allegations.

       TWENTY-FIFTH: Paragraph “25” of the Amended Complaint contains argument,

interpretation, and legal conclusions to which no response is required. To the extent the

paragraph contains factual allegations to which a response is required, the defendants deny all

such allegations.

                AS AND FOR AN ANSWER TO THE FIRST CAUSE OF ACTION

       TWENTY-SIXTH:          In response to paragraph “26” of the Amended Complaint, the

defendants incorporate by reference their answers and responses to paragraphs 1-25 of the

Amended Complaint herein.

       TWENTY-SEVENTH:            Deny the allegations contained in the paragraph designated as

“27” of the Amended Complaint.

       TWENTY-EIGHTH: Deny the allegations contained in the paragraph designated as

“28” of the Amended Complaint.

       TWENTY-NINTH:          Deny the allegations contained in the paragraph designated as “29”

of the Amended Complaint.

       THIRTIETH: Deny the allegations contained in the paragraph designated as “30” of the

Amended Complaint.



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       THIRTY-FIRST:       Deny the allegations contained in the paragraph designated as “31” of

the Amended Complaint.

              AS AND FOR AN ANSWER TO THE SECOND CAUSE OF ACTION

       THIRTY-SECOND: In response to paragraph “32” of the Amended Complaint,

defendants incorporate by reference their answers and responses to paragraphs 1-31 of the

Amended Complaint herein.

       THIRTY-THIRD:        Deny the allegations contained in the paragraph designated as “33”

of the Amended Complaint.

       THIRTY-FOURTH: Deny the allegations contained in the paragraph designated as “34”

of the Amended Complaint.

       THIRTY-FIFTH:       Deny the allegations contained in the paragraph designated as “35” of

the Amended Complaint.

       THIRTY-SIXTH:        Deny the allegations contained in the paragraph designated as “36”

of the Amended Complaint.

       THIRTY-SEVENTH:         Deny the allegations contained in the paragraph designated as

“37” of the Amended Complaint.

               AS AND FOR AN ANSWER TO THE THIRD CAUSE OF ACTION

       THIRTY-EIGHTH:        In response to paragraph “38” of the Amended Complaint,

defendants incorporate by reference their answers and responses to paragraphs 1-37 of the

Amended Complaint herein.

       THIRTY-NINTH:        Deny the allegations contained in the paragraph designated as “39”

of the Amended Complaint.




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         FORTIETH: Deny the allegations contained in the paragraph designated as “40” of the

Amended Complaint.

         FORTY-FIRST: Deny the allegations contained in the paragraph designated as “41” of

the Amended Complaint.

         FORTY-SECOND:             Deny the allegations contained in the paragraph designated as “42”

of the Amended Complaint.

         FORTY-THIRD:           Deny the allegations contained in the paragraph designated as “43” of

the Amended Complaint.

                 AS AND FOR AN ANSWER TO THE FOURTH CAUSE OF ACTION

         FORTY-FOURTH: In response to paragraph “44” of the Amended Complaint,

defendants incorporate by reference their answers and responses to paragraphs 1-43 of the

Amended Complaint herein.

         FORTY-FIFTH:           Deny the allegations contained in the paragraph designated as “45” of

the Amended Complaint.

         FORTY-SIXTH: Deny the allegations contained in the paragraph designated as “46” of

the Amended Complaint.

                  AS AND FOR AN ANSWER TO THE FIFTH CAUSE OF ACTION 1

         FORTY-SEVENTH:              Deny the allegations contained in the paragraph designated as

“47” of the Amended Complaint.

         FORTY-EIGHTH: Deny the allegations contained in the paragraph designated as “48”

of the Amended Complaint.



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 While the plaintiff entitles the section of her Amended Complaint containing paragraphs 47-51 as her
“Conclusion,” the defendants interpret it as a fifth cause of action for violation of the New York State Human Rights
Law.

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       FORTY-NINTH: Deny the allegations contained in the paragraph designated as “49” of

the Amended Complaint.

       FIFTIETH:      Deny the allegations contained in the paragraph designated as “50” of the

Amended Complaint.

       FIRTY-FIRST: Deny the allegations contained in the paragraph designated as “51” of

the Amended Complaint.

          AS AND FOR A RESPONSE TO THE PLAINTIFF’S PRAYER FOR RELIEF

       FIFTY-SECOND:          The plaintiff’s Prayer for Relief in paragraph “52” of the Amended

Complaint contains legal conclusions, argument and interpretation and demands to which no

response is required. To the extent a response is required, the defendants deny each and every

allegation contained in paragraph “52” and deny any wrongdoing, deny plaintiff’s rights were

violated in any way, and deny plaintiff is entitled to any relief of any kind.

                                    DEMAND FOR A JURY TRIAL

       FIFTY-THIRD: Defendants demand a trial by jury as to any and all issues raised in the

Amended Complaint and this Answer which are triable before a jury.

       That by reason of this action, said answering defendants have been and will be put to costs

and expense including attorney’s fees.

                         AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       FIFTY-FOURTH:          The Amended Complaint fails to state a claim for relief or allege

sufficient facts upon which relief can be granted.

                        AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       FIFTY-FIFTH:        Plaintiff’s claims may be barred in whole or in part by laches, waiver,

unclean hands, collateral estoppel, statute of limitations, and/or res judicata.


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                        AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       FIFTY-SIXTH:           Defendants at all times relative to plaintiff’s Amended Complaint

complied with all provisions of the ADA, the ADEA, Section 504 of the Rehabilitation Act of

1973, the New York State Human Rights Law, New York Education Law, the United States

Constitution, the Constitution of the State of New York, and all other applicable laws, statutes,

rules, regulations, and guidelines.

                       AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       FIFTY-SEVENTH:           The plaintiff’s age, disability, and/or protected speech or activity

were not the but-for cause of any adverse action.

                         AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       FIFTY-EIGHTH:          Plaintiff’s damages were caused and brought about by an intervening

and superseding cause and were not caused by defendants, or by a person or entity for whom

defendants are responsible.

                         AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       FIFTY-NINTH:           Any and all decisions reached by the defendants in this matter were

made in good faith and not probative of any animus or discriminatory intent towards the plaintiff

on the basis of age, disability, protected speech/activity, and/or any other impermissible bias.

                      AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       SIXTIETH: Plaintiff failed to satisfy certain conditions precedent before filing this action

and failed to plead compliance with statutory conditions precedent.

                      AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

       SIXTY-FIRST:        The Plaintiff failed to file a timely EEOC charge.


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                          AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        SIXTY-SECOND:              All actions taken by the defendants with respect to plaintiff’s

employment were based solely on legitimate, non-discriminatory and non-retaliatory reasons.

                         AS AND FOR A TENTH AFFIRMATIVE DEFENSE

        SIXTY-THIRD:         Defendants’ decisions and actions in this matter would have been

taken in the absence of any impermissible motivating factors and/or protected speech/activity.

                      AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

        SIXTY-FOURTH:           Plaintiff failed to mitigate her damages.

                       AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

        SIXTY-FIFTH:        Defendants did not act maliciously, recklessly or with ill will toward

plaintiff and plaintiff is not entitled to punitive damages or liquidated damages.

                     AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

       SIXTY-SIXTH:           Plaintiff has not exhausted her available internal or administrative

remedies.

                    AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

       SIXTY-SEVENTH:            Defendant did not act maliciously or with ill will toward Plaintiff.

                         AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

        SIXTY-EIGHTH:          Defendants did not make a deliberate decision to deprive or violate

the constitutional or statutory rights of plaintiff.

                      AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

        SIXTY-NINTH:         The Plaintiff does not suffer from a qualifying disability within the

meaning of the ADA, Section 504 of the Rehabilitation Act of 1973 and/or the New York State

Human Rights Law.



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                    AS AND FOR SEVENTEENTH AFFIRMATIVE DEFENSE

       SEVENTIETH:         Defendants fully engaged in the interactive process with respect to

plaintiff’s request for accommodations.

                   AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

       SEVENTY-FIRST:         The alleged incidents complained of were not severe or pervasive.

                    AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

       SEVENTY-SECOND:             Plaintiffs’ work environment was not hostile or abusive.

                    AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

       SEVENTY-THIRD:          The alleged discriminatory conduct does not rise above the level

of what a reasonable employee with the same protected characteristic would consider petty

slights or petty inconveniences.

                  AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE

       SEVENTY-FOURTH: Any liability of the defendants for monetary relief should be

mitigated, and any responsibility on the part of the defendants for equitable relief should be

barred, by after-acquired evidence of plaintiff’s misconduct during her employment.

                 AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE

       SEVENTY-FIFTH:         Defendants are not liable to the plaintiffs for any alleged

harassment or discrimination because they have exercised reasonable care to prevent and correct

any harassing behavior and the plaintiffs have unreasonably failed to take advantage of available

preventative or corrective opportunities. Farragher v. City of Boca Raton, 524 U.S. 775, 807

(1998); Burlington Indus. v. Ellerth, 524 U.S. 742, 761 (1998).




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                  AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE

       SEVENTY-SIXTH:            The plaintiff was not deprived of her tenure rights and/or any

other constitutionally protected property right or interest without due process of law or by

conduct of the defendants that was egregious and conscious-shocking.

                 AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE

       SEVENTY-SEVENTH:              The plaintiff failed to avail herself of adequate post-

deprivation remedy(ies).

                                     DEMAND FOR COSTS

       That by reason of this action, defendants has been and will be put to costs and expense

including attorney’s fees.

       WHEREFORE, Defendants demands judgment dismissing the Amended Complaint

herein, and costs, fees, and disbursements incurred in this action.

Dated: White Plains, New York
       March 24, 2023

                                               Respectfully submitted,

                                           SILVERMAN & ASSOCIATES


                                           By: Caroline B. Lineen
                                               Attorney for Defendants
                                               445 Hamilton Avenue, Suite 1102
                                               White Plains, New York 10601
                                               (914) 574-4510

TO:    Via ECF
       Mason Law, PLLC
       Attorneys for Plaintiff




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